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Case 2:13-cv-00591-.]CI\/|-PAL Document 77

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Filed 02/24/14 Page 1 of 10

`UNITED STATES DISTRICT C()URT

DISTRICT (}F NE`VADA

MONICA CONTRERAS, individualiy,
and in her capacity as na$urai mother and
guardian Of, and on behalf of, ANDREA
PA'i`ERNA, a minor,

P§aintiffs,

VS.

`RONALD D. FOX; JAMES KENYON;
GREGORY BRYANT; PATRICIA
DONINGER', CLARK COUNTY,
NEVADA; DOES 1-10; and ROE
ENTITIES l 1~20, inelusive,

Defendants.

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CASE NO. 2:13-ev-0059§~JCM-PAL

DEFENI}ANT PATRICIA DON!NGER’S REPLY IN SUPPORT OF
MOTIGN TO DISMISS

COMES NOW Defendant, Patrieia Doninger, by and through her undersigned counsei,

OLSON, CANNON, GORMLEY, ANGULO & STOBERSKI, and files the instant Repiy POintS

and Authorities in Suppc)rt of her Motion 10 Dismiss the claims against her in the Amended

Cnmp§airit pursuant to Federal Rule of Civii Procedure IZ(b)(é) based en Plaintiffs’ failure to

S$ate a c§aiin upon Which relief Can be granted

 

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PGINTS AND AUTHOR¥TIES

 

I. Introduction

Tlie ailegations set forth in Plaintiffs’ Amended Compiaint against Defendant Patricia
Doninger, a Hearing Master for Farnily Court (“Hearing i\/laster Doninger”), fail to state a ciaim
upon Whicii relief can be granted Spec-ifically, the allegations are barred by the doctrine of
absoiute judicial immunity. The entirety of the claims against Hearing l\/laster Doninger stem
from alieged actions-and inactions~taken in her capacity as a hearing master Which are judiciai
or quasi-iudicial functions Because a jadge, and those acting to perform duties directly related
to the judicial funetion, are protected by absolute judicial immunity, no federal claims may be
stated on the facts set forth in Plaintiffs` Arnended Cornplaint against Hearing l\/laster Doninger.
Further, simiiar absolute judicial immunity under Nevada state law bars Piaintiffs’ state law
claim against Hearing Master Doninger.'
H. Legal Argument

Piaintit`fs asserted 20 causes of action in their First Arnended Cornpiaint, four (4) of
Which are alleged against H`earing Master Doninger. The causes of action against Hearing
Master Doninger inelude: violation of 4“‘ and 14“‘ Arnendrnent rights pursuant to 42 U.S.C.
§1983 (First and Second Claims for Reiief); supervisory liabiiity pursuant to 42 UtS.C. §1983
{Third Clairn for Relief); and negligent supervision under state law (Tenth Clairn for Reliet).
Each allegation stems from an event on August 8, 201 l When Plaintiff l\/lonica Contreras was
appearing before llearing Master Doninger as a litigant during a hearing for extension of a
temporary restraining order previously filed against Plaintiff l\/lonica Contrcras by her ex-
husband According to Plaintiffs, after they left the courtroom at the conciusion of the hearing,
Piaintiff Monica Contrera Was approached by Defendant Marshal Fox who allegediy engaged in
non~consensuai, improper sexual contact with her while conducting a drug search in an anteroorn
of the courtroom (Compi. 1111 12~16). Plaintiffs returned to l-learing Master Doninger’s

courtroom and Plaintiff Moniea Contreras informed the Hearing l\/laster of l\/larshal Fox’s aileged

 

l in addition, negligent supervision claims are barred by N.R.S. § 41.032, discretionary
immunity See Nenl-Lomas v. LVMPD, 574 F.Supp.Qd ll70, l192 (D.Nev_ 2008).

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behavior. (Compl. il 17). At this time, Defendant l\/Iarshal Kenyon (a senior l\/larshal at Family
Court) Was also in the courtroom According to the Amended Cornplaint, both Marsbais then
arrested Plaintiff l\/ionica Contreras for providing a false statement to the Court. (Cornpi. 11 19).

There are no allegations Hearing l\/laster Doninger Was involved in the drug search of

 

Piaintit"f Moniea Contreras Which occurred outside the courtroom Further, no allegations exist
that Hearing Master Doninger knevv, or had reason to know, Whetiier the basis for Defendants
i"ox and Kenyon’s arrest of P`laintiff i\/loniea Contreras Was legitimate (i`.e. Whether the statement
she provided regarding Marshal Fox’s conduct Was, indeed, false). instead, Plaintiffs maintain
Hearing l\/laster Doninger’s culpability lies in a failure to act at the time of Plaintiff l\/lonica
Contreras“ arrest l\/lore particularly, Plaintiffs assert that Hearing l\/laster Doninger engaged in a
“conscious disregard of Plaintifi” s rights” by failing to intervene and stop the alleged
unreasonabie search and seizure committed by Defendants Fox and Kenyon (4ih Amendrnent
violation)2 which eventually ied to an alleged deprivation of Plaintiff’s, and her daughter’s,
ii.berty interests in the familial relationship vvith each other (i4“‘ Amendment violation)3 4.
Plaintiffs further allege Hearing Master Doni.nger “l<novvingly failed to take
actions”~Within an incorrectly presumed administrative/supervisory capacity~“vvhich “vvould have
prevented the alieged violations of Plaintift`s rights”. (Compi, §i‘ll 48~49).5 Plaintifi"s’ incorrect

presumption that Hearing l\/iaster Doninger has supervisory control over the l\/iarshais appearing

 

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3 Plaintiff" s daughter, Who accompanied Plaintiff to court the day of tire subject incident, Was
taken into custody by Child Protective Services during the time Plaintiff Was detained (Cornpl.

y 22).
“ Compi. int 42-42A.

5 Plaintiff maintains l-learing l\/laster Doninger had an c"adrninistrati\ue duty to supervise the
conduct of the court staff1 including the marshals.” Del`endant denies this allegation l:~lovvever,
the instant Motion seeks dismissal under P.R,C.P. l2(b)(6), Which mandates the Court accept
all factual allegations in Plaintiffs’ Amended Compiaint as true. As set forth in detail iierein,
Whether l-iearing i\/iaster Doninger had a right to exercise administrative control over the
marshals appearing in her courtroom is o;t`no moment to a determination of the instant Motion.
’l`he specific actions alleged by Plaintiffs are judicial in nature, not administrativeg and absoiute
immunity bars recovery against liearing l\/iaster Doninger stemming from the same.

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in her courtroom also forms the basis for Plaintiffs” state law claim of negligent supervision
(Cornpl. jj 86~87).

A,, Plainriffs Have Established No Basis to Preclude Annlication of Absolute

Immunig for all Federal Claims Asserted Against Hearing Master Doninger

ludicial immunity has been recognized in the common law since 1372 Few doctrines
were more solidly established at common law than the immunity of judges from liability for
damages for acts committed within their judicial jurisdiction Bmci’!ey v. Wall, 13 Wail. 335, 20
L.Ed. 646 (1872). judicial immunity is an immunity from suit, not just from ultimate assessment
of damages Accordingly, this absolute immunity insulates judges from charges ol` erroneous
acts or irregular action, even vvhen it is alleged that such action Was driven by malice, bad faith or
corruption Forrester v. White, 484 U.S. 219, 227-28 (i988`).

Plaintiffs, in opposition to the current l\/lotion to Dismiss, do not disagree that i~-learing
l\/laster Doninger’s role in the instant matter is functionally comparable to that of a judge for
purposes of j udicial immunityl She presides over adversary matters involving the issuance and
extension of domestic violence protective orders Shc acts as the trier of fact and the parties are
entitled to present evidence during the hearings (pursuant to the traditional safeguards in place
regarding the admission of evidence). Hearing l\/laster Doninger’s findings are reduced to a
Recornniendation which must be signed by a district court judge. Either party may tile an
objection to the Recommendation with the district court in an attempt to correct errors on appeal
She acts as an integral part of the judicial process and performs a valuable function in assisting
the courts With evaluation and determination of restraining order matters While acting in this
capacity, Hcaring l\/laster Doninger is entitled to judicial immunity Sae Duffv. Lewis, ll'fiL l\iev.
564, 958 P_Zd 82 (1998).

Judicial immunity is overcome in only two sets oi` circumstances: (l) a judge is not
immune from liability for non~judicial actions (i.e. actions not taken in the judge’s judicial
capacity); and (2) ajudge is not immune for actions, though judicial in naturc, taken in a
complete absence of all jurisdiction Stump v. Sparkmcm, 435 U.S. 349, 362 (l978). in their

Opposition, Plaintiffs do go_t oppose application of absolute immunity on the grounds ilearing

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Master Doninger’s actions Were taken in complete absence of all jurisdiction 'l"hey further do
§§ oppose the fact Hearing Master Doninger Was acting as an arm of the court and Was
performing a judicial function Their sole chalienge to absolute immunity rests on the argument
these alleged actions Were adrninistrati'\/e5 as opposed to judicial, in nature. Plaintift`s are
incorrect

Plaintiffs cite Forre.ster and Anroine v. Byers & Ana'erson, 508 U.S. 429 (1993) for the
proposition that judicial immunity does not apply to administrative actions. Unfortunately,
Plaintit`i°s fail to provide the Court With any analysis Whicli applies the holdings ot` those cases to
the instant facts Tlie reason for such failure is clear: the administrative action at issue in both
cases bears no similarity to the actions ol`Hearing l\/iaster Doninger. In Forrestcr, the court
refused to grant absolute immunity to a judge For allegations that lie demoted and discharged an
employee on account of her sex in violation of the Equal Protection Clause of the i¢l‘h
Ainendment. The Forres!er court held the judge’s personnel decision to demote and discharge
the former employee Was administrative rather than judicial in nature 484 U.S. at 22{}. In
Anroine, the court held the defendant court reporters Were not entitled to absolute immunity for
an alleged failure to provide complete transcripts of a criminal proceeding The court stated: “In
short, court reporters do not exercise the kind of judgment that is protected by tile doctrine of
judicial immunity.” 508 U.S. at 437.

Conyersely, the record clearly establishes tiie entirety of Piaintiffs’ allegations against
Hearing i\/]aster Doninger rest in actions (or inactions) taken in Hearing Master Doninger’s quasi~
judicial capacity Tlie determination of Whether a function is “judiciai” for purposes of immunity
includes two t`actors: (l) W`hether the function is one normally performed by ajudge; and {2)
Whetiier the parties dealt With the judge in his or herjudicial capacity Si‘ump, 435 U.S. at 357.
The complained-of actions against Hearing Master Doninger i`uli`ill both factors

First, Plaintii`f Monica Contreras’ only interaction Witii l-Icaring Master Doninger Was in
the I-learing Master’s judicial capacityl At all times reieyant, Plaintiff l\/ionica Contreras Was a
i_it_iga_;it appearing before Hearing l\/iaster Doninger within her assigned courtroom. lndeed, the

precise action Plaintift`s allege should have occurred, i.c. that Hearing l\/iaster Doninger should

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have intervened during Plaintiff l\/ionica Contreras’ arrest, could have only been undertaken in
her judicial capacity Plaintiffs are not employees or co-workers of Hcaring l\/laster Doninger
and the allegations against l-learing l\/laster Doninger cannot be deemed to involve personnel or
“adrninistrative” issues All interaction between Plaintiff l\/ionica Contreras and l~learing l\/laster

Doninger occurred as between a litigant and a judge

Plaintifi.`s’ argument that Hearing l\/laster Doninger had a duty to intervene in the arrest of §

Plaintii`f Monica Contreras because the Hearing l\/laster Was the “superior official present” is
unavailing Plaintifi"s cite no authority in support of this statement Further, Plaintift`s’ attempted
application of certain provisions within the Nevada Code of ludicial Conduct is equally
unpersuasive l\lothing in the Arnended Complaint references allegations that l~learing l\/iaster
Doninger violated any l\levada Code of.ludicial Conduct, particularly Cannon i.2 (cited by
Plaintiffs within their Opposition) which provides:

A judge shall act cit aff times fn a manner that promotes public Corg)?dence in the

independence integrity and impartiality ofth judiciary and shall cn.-'oid impropriety and

lite appearance cf impropriety

The allegations contained in the Arnended Cornplaint against ll.earing l\/laster Doninger
consist of civil rights violations under the Fourth and Pourteenth Arnendrnent, and pendent state
law negligent supervision claims Plaintit`fs’ citation to the general expectations oi`j udges to
promote confidence in the judiciary, as set forth in Cannon 1.2, is confusing at best, and
desperate at worst

'l`he same is true for Plaintii"fs" citation to Cannon Q.lZ(A) which provides:

A judge shall require court Sf'a}j{ court o/j?ciols‘, and others subject to the judge ’S

direction and Com'rol to act in cl manner Consr`s.tent with thejudge 's obligations under

this Code,
(Emphasis added).

l\ioticeably absent in Plaintit`fs" cited version of Cannon 2.i2 is the underscored language
above, i.e. “subject to the iudge’s direction and control”` As stated in Hearing Master Doninger’s
l\/iotion to Disrniss, and unrefuted by Plaintii"t`s, llearing Master Doninger exercises no

administrative direction or control over the l\/iarshals who appear in her courtrooml She is not

even entitled to request that a particular t\/larshal appear in her courtrooni. T he Family Court

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l\/larshals decide which courtroom they will be working in on any particular day. Hearing l\/iaster
Doninger is further not entitled to supervise any actions of the l\/larshals who appear in her
courtroom Sbe has no supervision, direction, and/or control over the Marshals.

"l`he third Cannon cited by Plaintift`s is also inapplicable and without merit for purposes of
opposing leiearing i\/laster Doninger’s Motion to Dismiss. Cannon 2.3 prohibits judges from
permitting court staff, court ot`ticials, or others subject to the iudge’s direction and control from
engaging in harassment Again, this Cannon is limited to those subject to the direction and
control of Hearing l\/laster Doninger (which does not include Marshals Fox or Kenyon). i\/lore
importantly, there are no allegations of harassment contained in Plaintiffs’ Aniended Cornplaint.

The second prong of Siump is also fulfilled in this matter, i.e. the acts at issue are those
normally performed by a judge in Chrzanowski v. /issad, Case No.: 2:05-cv-004l8-RLH-PAL
(Dl<t 25) lodge Hunt held the defendant ludge George Assad was entitied to judicial immunity
for allegations that he wrongfully held a defendant’s girlfriend in custody in an effort to pressure
the boyfriend to appear in his court (See Orcier, attached as Exhibit “A” to l-learing Master
Doninger’s Motion to Disrniss). Although the girlfriend was not the defendant and was not part
ofthe criminal action, ludge l-iunt determined that judicial immunity applied because the act of
ordering someone in custody Was judicial in nature (the act took place in Judge Assad’s
courtroom, the order arose front a pending case, and the order derived front a confrontation with
the judge in his official capacity). Io’.é

The Ninth Circuit held similarly in Crooks v. Moyrrorci, 913 F.Sd 699 (Q‘h Cir. l990)
wherein it stated a judge was entitled to judicial immunity for the issuance of a contempt citation
against a clerk of court and deputy cleri<. 'l"he Crooks court rejected the plaintiffsj argument that
the act at issue was administrative {as opposed to judicial) in nature, holding alternatively that the
act was not a c‘personnel action” because the judge did not hire or tire the plaintiffs and was only
exercising his judicial power4 Id. at 700. 'l`he Crooks’ holding is entirely applicable in the

instant inatter.

 

° ”l` his decision was affirmed in an unpublished decision by the Ninth Circuit Court of

Appeais. 2008 WL 1329734 (9‘“ Cir. acos); 275 rea.Apr. 661 (c.A.9 (Nev.)).

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Actions taken by a judge in an effort to control iris/her courtroom are consistently
interpreted asjudicial functions thus entitling the judge to absolute immunity Mireles v. Wcico,
502 U.S. 9 (l99l)(concluding thatjudge Was immune from liability l`or allegedly authorizing
police officers to use excessive force to hale an attorney into his courtroorn); Ashet`marz v. Pope,
793 F.Zd 1072 (Qtli Cir.1986) (extending absolute judicial immunity to a judge Who allegedly
conspired With a prosecutor to predetermine the outcome of a proceeding); K`z’rig v. Myers, 973 .
F..’Zd 354 (4tb Cir. l992) (liolding that magistrate judge Was absolutely immune from civil liability §
for directing a police officer to effect Warrantless arrest); Greeri v. Maraio, 722 l?.?.d lt)l} (Zd
Cir.1983) (recognizing immunity Wnerc ajudge instructed a court reporter to alter a trial
transcript); Shcppard v. Maxwelf, 384 U.S. 333 (l966)(a judge acts in a judicial capacity Wben
exercising control ot`thejudge’s courtroom); Camerorz i). Se:.`lz, 38 l~`.3d 264, 271 (6tli
Cir.1994)(state probate court judge's actions of not taking probate court employees
recommendations on disposition of juvenile cases, and barring employees admittance into court
Were judicial acts and therefore subject to immunity despite the employees allegations the judge
made his decisions out of hostility arising from the employees marriage to the judge's secretary).

Because a iudge is immune from suit for ordering a litigant to be taken into custody. the
converse must also be true: a judge is immune from suit for an alleged failure to stop someone
from being taken into custody, Wbiclr is orecisely the allegation against Hearing l\/laster
Doninger. Plaintifl`s may disagree With tire judicial discretion exercised by l“learing l\/laster
Doninger, however, application of immunity is not dependent on the accuracy of the decision
Absolute immunity insulates judges front charges of erroneous acts or irregular action even Wiien
it is alleged that such action Was driven by malicc, bad faith or corruption Forres!er, 484 `U.S. at
227-28. llurtherrnore, tire absolute immunity is not pierced by allegations ofj udicial authority
“ilawed by the commission oi` grave procedural errors.” Stump, 435 U.S. at 359.

ln the instant case, Plaintift`s’ allegations against liearing Master Doninger fall squarely in §
tire ambit of the protection of absolute judicial immunity The entirety ot` the allegations arise

from events that occurred in llearing Master Doninger’s courtroom while she Was acting in her

 

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official capacity This is plainly a case Wiiere immunity attaches and dismissal of Plaintiffs’
allegations against Hearing Master Doninger is warranted

B. Hearing hiaster Doninger is Also Entitled to Judicial immunity for

Plaintiff’s State Law Clailns

l"learing Master Doninger is also immune from Plaintiffs’ state law cause of action for
negligent supervision According to the l\levada Supreme Court in Smfe v. Second`!uclicinf
Disfrr'c! Courz, llS l\lev. 609, 6l5, 55 P.3d 420 (2003), state-court judges have immunity from
state law claims just as they do for federal causes of action Plaintiffs do not separately oppose
l~-iearing l\/laster Doninger’s right to judicial immunity from suit for the pending state law claim
of negligent supervision

Absolute judicial immunity attaches to l~learing Master Doninger’s alleged conduct
regardless of Whether Plaintiffs file suit under federal law claims or state law claims Plaintift`s’
“‘negligent supervision” claim is legally deficient for the same reasons set forth above for the
§1983 civil rights causes of action i)ismissal is thus Warranted for any claims asserted under
supplemental jurisdiction against Hearing l\/laster l)oninger.

C()NCLUSION

Based on the foregoing, Defendant Patricia Doninger respectfully requests that the
entirety of Plaintiffs7 claims made against her in the Amended Cornplaint be dismissed pursuant
to Federal Rule of Civil Procedure lZ(b)(o).

RESPECTFULLY SUBMITTED this 24th day of February, 20i4.

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y Case 2:13-cv-00591-.]CI\/|-PAL Document 77 Filed 02/24/14 Page 10 of 10
1 CERTIFICATE {)F SERVICE
2 I HEREBY CERTIFY that on the 24‘“ day of February, 2014, i served the above
3 DEFENDAN'I` PA’I`RICIA DON£NGER’S REPLY IN SUPPORT OF MOTION '1` 0
4 I)ISMISS through the CM/ECF system of the United States District Court for the District ot`
5 Nevada (or, if necessary, by U.S. l\/iailj iirst class, postage pre-paid), upon the ioliowing:
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27 § ANGULO & STOBERSK_I
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